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                       UNITED STATES DISTRICT COURT
                                 DISTRICT OF DELAWARE



  Randall C. Lohan                                                                    U.S. Courthouse
   Clerk of Court                                                                    844 N. King Street
                                                                                           Unit 18
   Robert L. Rebeck                                                                 Wilmington, DE 19801
    Chief Deputy                                                                       (302) 573-6170




                                                                    April 9, 2025

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 Stanley B. Edelstein
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 123 South Broad Street
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 Philadelphia, PA 19109

        RE:     C.A. No. 1:25-00442-UNA
                Association with Delaware Counsel

Dear Counsel:

       The above-referenced civil action was transferred to the District of Delaware on
04/09/2025.

        Pursuant to Rule 83.5 of the Local Rules of Civil Practice and Procedure of the United
States District Court for the District of Delaware, it is required that all parties associate themselves
with Delaware counsel. Local Rule 83.5 (d) and (e) read as follows:

                (d) Association with Delaware Counsel required. Unless otherwise
                ordered, an attorney not admitted to practice by the Supreme Court
                of the State of Delaware may not be admitted pro hac vice in this
                Court unless associated with an attorney who is a member of the Bar
                of this Court and who maintains an office in the District of Delaware
                for the regular transaction of business (“Delaware counsel”).
                Consistent with CM/ECF Procedures, Delaware counsel shall be the
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              registered users of CM/ECF and shall be required to file all papers.
              Unless otherwise ordered, Delaware counsel shall attend
              proceedings before the Court.

              (e) Time to Obtain Delaware Counsel. A party not appearing pro se
              shall obtain representation by a member of the Bar of this Court or
              have its counsel associate with a member of the Bar of this Court in
              accordance with D. Del. LR 83.5(d) within 30 days after:

                      (1) The filing of the first paper filed on its behalf; or
                      (2) The filing of a case transferred or removed to this Court.
              Failure to timely obtain such representation shall subject the
              defaulting party to appropriate sanctions under D. Del. LR 1.3(a).

       Therefore, please obtain Delaware counsel for your client and have that counsel enter an
appearance on or before 05/09/2025.

                                                            Sincerely,


                                                            Randall C. Lohan
                                                            CLERK OF COURT
/mpb
